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                     EXHIBIT A
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                      EXHIBIT 2

            REDACTED VERSION
              OF DOCUMENT
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11 SPACE DATA CORPORATION
12
                           UNITED STATES DISTRICT COURT
13
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
14                               SAN JOSE DIVISION

15
     SPACE DATA CORPORATION,                          Case No. 5:16-cv-03260-BLF (NC)
16
                   Plaintiff,                         PLAINTIFF SPACE DATA
17                                                    CORPORATION’S JULY 13, 2018
     v.                                               AMENDED RESPONSES TO
18                                                    DEFENDANT GOOGLE LLC’S
     ALPHABET INC., and GOOGLE LLC,                   INTERROGATORY NOS. 12, 15, 16, 17,
19                                                    19, 20 & 23
20                 Defendants.
                                                      Judge:      Hon. Beth Labson Freeman
                                                      Date Filed: June 13, 2016
21
                                                      Trial Date: August 5, 2019
22
                 HIGHLY CONFIDENTIAL: ATTORNEYS’ EYES ONLY
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     PLAINTIFF’S JULY 13, 2018 AMENDED RESPONSES                  Case No5:16-CV-03260-BLF (NC)
     TO GOOGLE’S INTERROGATORY NOS. 12, 15, 16, 17, 19, 20 & 23                         HC:AEO
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 1            Space Data Corporation (“Space Data” or “Plaintiff”), hereby provides its amended
 2 responses (inclusive of objections) to Google LLC’s (“Google” or “Defendant”)
 3 Interrogatory No. 12, 15, 16, 17, 19, 20 and 23 (the “Interrogatories”). 1
 4            Discovery is ongoing, and Space Data has not yet completed discovery in this action,
 5 and has not completed preparation for trial. All of the following responses to Defendant’s
 6 discovery therefore are without prejudice to Space Data’s right to produce evidence of any
 7 subsequently discovered facts or subsequently discovered documents. The information
 8 hereinafter set forth is true and correct to the best of Space Data’s knowledge as of this date,
 9 and is subject to correction for inadvertent errors, mistakes or omissions.
10                                     GENERAL OBJECTIONS
11            1.      All of Space Data’s General Objections, and all of Space Data’s Specific
12 Objections to the Interrogatories, made in Space Data’s prior responses that relate to the
13 Interrogatories are incorporated herein by reference.
14            2.      Space Data objects to the Interrogatories to the extent they are inconsistent
15 with or purport to impose upon Space Data obligations exceeding those set forth in the
16 Federal Rules of Civil Procedure and the Local Rules of the United States District Court for
17 the Northern District of California, any discovery plan that may be agreed to by the parties
18 and approved by the Court, any other schedule or ruling that may be set forth by the Court, or
19 any other agreement of the parties.
20            3.      Space Data objects to the Interrogatories to the extent they seek description or
21 identification of all or each fact, act, document, persons, communications, or other evidence
22 or member of a category of information or thing concerning any subject matter. This
23 language renders the Interrogatory vague, ambiguous, unintelligible, unduly broad, and
24 uncertain. To the extent Space Data agrees to identify any information, it will conduct a
25 reasonable investigation for relevant, responsive, non-duplicative, non-privileged information
26
     1
27       Google and Alphabet Inc. are collectively referred to as “Defendants.”

28

     PLAINTIFF’S JULY 13, 2018 AMENDED RESPONSES TO         1           Case No. 5:16-cv-03260-BLF (NC)
     GOOGLE’S INTERROGATORY NOS. 12, 15, 16, 17, 19, 20 & 23                          (HC:AEO)
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 1 and make reasonable identifications based on its investigation, as, we are sure, will Google.
 2          4.      Space Data objects to the Interrogatories to the extent they are vague,
 3 ambiguous, overly broad and unduly burdensome, and not reasonably calculated to lead to
 4 the discovery of admissible evidence. Space Data expressly reserves all objections as to
 5 vagueness, ambiguity, unintelligibility, and overbreadth.
 6          5.      Nothing herein shall be construed as an admission by Space Data regarding
 7 the admissibility or relevance of any fact or document or of the truth or accuracy of any
 8 characterization contained in Google’s discovery requests. Space Data expressly reserves all
 9 objections regarding the competency, relevancy, materiality, probative value, and
10 admissibility of all information provided, documents produced and contents thereof.
11          6.      Space Data objects to the Interrogatories to the extent that they are duplicative
12 of other discovery to be produced in this case or seek documents and things which are more
13 easily available through other, less burdensome means.
14          7.      Space Data objects to the Interrogatories to the extent that they seek
15 information, documents, or things that are not relevant to the subject matter of this action or
16 to a claim or defense of any party and/or are not reasonably calculated to lead to the
17 discovery of admissible evidence.
18          8.      Space Data objects to the Interrogatories to the extent they include subparts
19 that should be propounded, numbered, or counted as separate interrogatories in accordance
20 with Federal Rules of Civil Procedure 33.
21          9.      Space Data objects to the Interrogatories to the extent they seek information
22 that does not exist or that is otherwise outside of Space Data’s possession, custody, or
23 control.
24          10.     Space Data objects to the Interrogatories to the extent they seek information
25 that is already within the possession of Defendants or that is readily accessible to Defendants,
26 as through public sources.
27          11.     Space Data objects to the Interrogatories, and each of the requests,
28

     PLAINTIFF’S JULY 13, 2018 AMENDED RESPONSES TO         2         Case No. 5:16-cv-03260-BLF (NC)
     GOOGLE’S INTERROGATORY NOS. 12, 15, 16, 17, 19, 20 & 23                        (HC:AEO)
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 1 instructions and definitions therein or incorporated therein, insofar as the Interrogatories and
 2 any request, instruction or definition seeks information or production of documents or things
 3 protected by the attorney-client privilege, protected by the work-product doctrine, immune as
 4 trial-preparation material, or protected by any other applicable privilege, immunity, rule or
 5 duty of confidentiality which precludes or limits the disclosures of such information. Such
 6 information shall not be provided in response to the Interrogatories and any inadvertent
 7 disclosures shall not be deemed a waiver of any privilege or related doctrine.
 8          12.     Space Data objects to the Interrogatories to the extent they seek information,
 9 documents or things that contain trade secret, confidential or proprietary information. Space
10 Data will provide such information, documents or things only subject to the protection of the
11 Stipulated Protective Order in this case (ECF 171).
12          13.     Space Data objects to the Interrogatories to the extent they require Space Data
13 to provide information or documents or things that are subject to a non-disclosure or
14 confidentiality agreement or protective order with a third party, or a legal or regulatory or
15 other government restriction, or that contain the trade secrets of or confidential or proprietary
16 or sensitive information of a third party. To the extent Space Data identifies any such
17 information, document or thing, it will abide by its confidentiality obligation that prevents
18 disclosure and provide notice to Defendant of the nature of the information, document or
19 thing and the confidentiality obligation that prevents disclosure. To the extent that Space
20 Data is able to provide any such information, documents or things, it will only do so subject
21 to the protection of the Stipulated Protective Order in this case (ECF 171).
22          14.     Space Data objects to the Interrogatories to the extent they seek sensitive
23 personal or private information that is otherwise confidential or protected by a person’s right
24 to privacy. If Space Data provides any such information, documents or things, it will do so
25 subject to the protection of the Stipulated Protective Order in this case (ECF 171).
26          15.     Space Data objects to the Interrogatories as premature, as fact discovery has
27 not been completed and many of Google’s corporate witnesses have not yet testified, and to
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     PLAINTIFF’S JULY 13, 2018 AMENDED RESPONSES TO         3         Case No. 5:16-cv-03260-BLF (NC)
     GOOGLE’S INTERROGATORY NOS. 12, 15, 16, 17, 19, 20 & 23                        (HC:AEO)
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 1 the extent it seeks information that is the subject of expert discovery.
 2          16.     Space Data objects to the Interrogatories as premature, given Space Data has
 3 not completed its investigation of facts, witnesses or documents relating to this case, has not
 4 completed analysis of available information, and has not completed preparation for trial.
 5 Trial is not set in this matter until August 5, 2019. Opening expert reports are not due until
 6 September 7, 2018.
 7          17.     Space Data objects to the Interrogatories to the extent they seek electronically
 8 stored information (“ESI”) in in a format not maintained by Space Data, ESI from sources
 9 that are not reasonably accessible because of undue burden or expense, or ESI in a format
10 that is unduly burdensome and not reasonably proportionate to the needs of the case where
11 other formats have been produced or are available. Space Data objects to the Interrogatories
12 to the extent they are inconsistent with or purport to impose upon Space Data obligations
13 exceeding those set forth by the Stipulated Order Re: Discovery of Electronically Stored
14 Information, the Stipulated Order Re: Discovery of Emails, or any other agreements as to ESI
15 reached by the parties or ordered by the Court.
16          18.     Space Data objects to Definition No. 1 as vague, ambiguous, overly broad and
17 unduly burdensome, and not reasonably calculated to lead to the discovery of admissible
18 evidence to the extent it purports to include within the scope of “Space Data,” “you” “your”
19 or “Plaintiff” entities that are not Plaintiff. Space Data will construe “Space Data,” “you”
20 “your” and “Plaintiff” to mean Plaintiff Space Data Corporation.
21          19.     Space Data objects to Definition Nos. 6 and 8 to the extent they purport to
22 impose upon Space Data obligations exceeding those set forth in the Federal Rules of Civil
23 Procedure and the Local Rules of the United States District Court for the Northern District of
24 California, any discovery plan agreed or that may be agreed to by the parties and approved
25 by the Court, any other schedule or ruling that may be set forth by the Court, or any other
26 agreement of the parties. Space Data will respond in accordance with these rules /
27 agreements. Space Data further objects to these definitions to the extent they seek
28

     PLAINTIFF’S JULY 13, 2018 AMENDED RESPONSES TO         4         Case No. 5:16-cv-03260-BLF (NC)
     GOOGLE’S INTERROGATORY NOS. 12, 15, 16, 17, 19, 20 & 23                        (HC:AEO)
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 1 information protected by the attorney-client privilege, the work-product doctrine, or any
 2 other applicable privilege, protection or immunity, including FRE 408 and FRCP 26(b), or
 3 information subject to a non-disclosure or confidentiality agreement or protective order with
 4 a third party, or information subject to a legal, regulatory or government restriction, or
 5 information that contains the trade secrets of or confidential or proprietary information of a
 6 third party.
 7           20.    Space Data objects to Definition No. 7 as vague and ambiguous to the extent
 8 that the parties may have different interpretations of the term “Confidential Information” as
 9 used in the parties’ NDA.
10           21.    Space Data objects to Definition Nos. 9 and 10 to the extent they purport to
11 impose upon Space Data obligations exceeding those set forth in the Federal Rules of Civil
12 Procedure and the Local Rules of the United States District Court for the Northern District of
13 California, any discovery plan agreed or that may be agreed to by the parties and approved
14 by the Court, any other schedule or ruling that may be set forth by the Court, or any other
15 agreement of the parties. Space Data will respond in accordance with these rules /
16 agreements. Space Data further objects to these definitions to the extent they seek
17 information protected by the attorney-client privilege, the work-product doctrine, or any
18 other applicable privilege, protection or immunity, including FRE 408 and FRCP 26(b), or
19 information subject to a non-disclosure or confidentiality agreement or protective order with
20 a third party, or information subject to a legal, regulatory or government restriction, or
21 information that contains the trade secrets of or confidential or proprietary information of a
22 third party, or sensitive personal or private information that is otherwise confidential or
23 protected by a person’s right to privacy. Space Data also objects to these definitions as
24 vague, ambiguous, overly broad and unduly burdensome, and not reasonably calculated to
25 lead to the discovery of admissible evidence.
26           22.    Space Data objects to Definition No. 15 as unduly burdensome to the extent it
27 seeks to include affiliates, subsidiaries, predecessors-in-interest, successors-in-interest, and
28

     PLAINTIFF’S JULY 13, 2018 AMENDED RESPONSES TO         5          Case No. 5:16-cv-03260-BLF (NC)
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 1 present and former officers, directors, managers, employees, consultants, agents, attorneys,
 2 accountants, and representatives of Defendants within the definition of “third party.” Space
 3 Data will not read the term “third party” to include the Google or Alphabet associated
 4 persons described in the immediately preceding sentence.
 5          23.     Space Data objects to Instruction No. 1 to the extent it purports to impose
 6 upon Space Data obligations exceeding those set forth in the Federal Rules of Civil
 7 Procedure and the Local Rules of the United States District Court for the Northern District of
 8 California, any discovery plan agreed or that may be agreed to by the parties and approved
 9 by the Court, any other schedule or ruling that may be set forth by the Court, or any other
10 agreement of the parties. Space Data will not provide an “incomplete response / efforts that
11 were made log.” Space Data further objects to Instruction No. 1 to the extent it seeks
12 information that is outside of Space Data’s possession, custody, or control. Space Data
13 further objects to Instruction No. 1 as vague, ambiguous, overly broad and unduly
14 burdensome, and not reasonably calculated to lead to the discovery of admissible evidence.
15 For example, the term “best knowledge” renders the request vague, ambiguous and unduly
16 burdensome.
17          24.     Space Data objects to Instruction No. 2 to the extent it purports to impose
18 upon Space Data obligations exceeding those set forth in the Federal Rules of Civil
19 Procedure and the Local Rules of the United States District Court for the Northern District of
20 California, any discovery plan agreed or that may be agreed to by the parties and approved
21 by the Court, any other schedule or ruling that may be set forth by the Court, or any other
22 agreement of the parties. Space Data also objects to Instruction No. 2 as unduly burdensome
23 to the extent it purports to require that Space Data “state the grounds for any objection with
24 specificity” with regard to post-filing privileged, work product, trial preparation or otherwise
25 immune materials or information.
26          25.     Space Data objects to Instruction No. 3 to the extent it purports to impose
27 upon Space Data obligations exceeding those set forth in the Federal Rules of Civil
28

     PLAINTIFF’S JULY 13, 2018 AMENDED RESPONSES TO         6        Case No. 5:16-cv-03260-BLF (NC)
     GOOGLE’S INTERROGATORY NOS. 12, 15, 16, 17, 19, 20 & 23                       (HC:AEO)
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 1 Procedure and the Local Rules of the United States District Court for the Northern District of
 2 California, any discovery plan agreed or that may be agreed to by the parties and approved
 3 by the Court, any other schedule or ruling that may be set forth by the Court, or any other
 4 agreement of the parties. Space Data further objects to Instruction No. 3 as vague and
 5 ambiguous, especially as to the phrase “subject to Google’s right to clarify the meaning in the
 6 same or a different manner.” Space Data does not agree that Google has any rights beyond
 7 those provided by the Federal Rules of Civil Procedure or the Local Rules of the United
 8 States District Court for the Northern District of California.
 9          26.      The fact that part or all of any request has been answered shall not be
10 construed to be a waiver of any objections to any request.
11          27.      Space Data expressly incorporates each of the foregoing General Objections
12 into each of the Specific Objections set forth below. No response shall be understood as, nor
13 is intended to be, a waiver of any General Objection or any Specific Objection that may be
14 separately stated with respect to any response. Nor shall any response to a request be
15 deemed to constitute any agreement or concession that the subject matter thereof is relevant
16 to this action.
17          28.      All of the responses set forth below are made without waiving or intending to
18 waive any objection, including but not limited to objections as to competency, relevancy,
19 materiality, authenticity, privilege, or admissibility. Space Data reserves the right to revise
20 or supplement its responses to the Interrogatories at any time should additional responsive
21 information be discovered and/or additional claims be asserted. Space Date also reserves the
22 right to assert additional objections at any time.
23                         AMENDED RESPONSES TO INTERROGATORIES
24 INTERROGATORY NO. 12:
25          Identify with specificity each item of Confidential Information that Space Data
26 contends Google has used or disclosed in violation of the NDA.
27 AMENDED (07/13/2018) RESPONSE:
28

     PLAINTIFF’S JULY 13, 2018 AMENDED RESPONSES TO         7          Case No. 5:16-cv-03260-BLF (NC)
     GOOGLE’S INTERROGATORY NOS. 12, 15, 16, 17, 19, 20 & 23                         (HC:AEO)
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 1           Space Data refers to and incorporates by reference each of the foregoing General
 2 Objections. In addition to the foregoing General Objections, Space Data specifically objects
 3 to this interrogatory because, amongst other things, the request’s reference to “each item of
 4 Confidential Information” renders it overly broad, unduly burdensome and not reasonably
 5 calculated to lead to the discovery of admissible evidence. Space Data also objects to this
 6 request to the extent it includes subparts that should be propounded, numbered, or counted as
 7 separate interrogatories in accordance with Federal Rules of Civil Procedure 33. Space Data
 8 further objects to this interrogatory to the extent it seeks information within Defendants
 9 possession, custody and/or control, and/or information more easily available to Defendants,
10 as through public sources. Space Data also objects to this interrogatory as premature, given
11 that Space Data has not completed its investigation of facts, witnesses or documents relating to
12 this case (including the NDA), has not completed discovery, has not completed analysis of
13 available information, and has not completed preparation for trial. Space Data also objects to
14 this interrogatory to the extent it seeks trade secret, confidential, or proprietary information
15 of a third party, sensitive personal or private information of a third party, or sensitive
16 government information. Space Data further objects to this interrogatory to the extent it
17 seeks information, documents, and/or things protected by the attorney-client privilege, the
18 work-product doctrine, or any other applicable privilege or immunity.
19           Subject to, and without waiver of, the foregoing General and Specific Objections,
20 Space Data responds further as follows:
21           Space Data has identified, with specificity, the trade secrets that it is informed and
22 believes Google has misappropriated in its Fifth Amended § 2019.210 Disclosure, served on
23 May 8, 2018 (the “2019 Trade Secrets”). The 2019 Trade Secrets are summarized below:
24           Trade Secret Category One: Wind Data Trade Secrets Enumerated
25           1. The proprietary wind data on display for Google during its February 15, 2008 visit
26 to Space Data’s Chandler, Arizona facility, representing data related to 11 flights and
27 depicted in the screenshots attached thereto as Exhibit A to the Fifth Amended 2019.10
28

     PLAINTIFF’S JULY 13, 2018 AMENDED RESPONSES TO         8          Case No. 5:16-cv-03260-BLF (NC)
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 1 Statement (pp. 17, 35, 52, 68, 84, 102, 118, 102, 118, 166, 183, 196, and 212).
 2           2. The conclusion that a stratospheric balloon array comprising balloons spaced less
 3 than 100 miles apart (a “Tight Array”) could be flown to optimize communications with
 4 mainstream broadband devices based upon taking advantage of Space Data’s proprietary
 5 knowledge that at 60,000 to 80,000 feet (the “Peaceful Band”), there are sufficient layers of
 6 wind at different but appropriately consistent velocities to permit a Tight Array to be
 7 maintained; wherein the Tight Array is maintained by steering balloons by adjusting their
 8 altitude to catch different winds of different velocities at different altitude levels within the
 9 Peaceful Band. In particular, the knowledge that many different altitude zones exist within
10 the Peaceful Band and the knowledge of the different velocities at those altitudes allows
11 recently-launched balloons to be lifted to specific altitudes where the known wind velocity
12 will transfer these balloons into tight slots within the existing balloon array. If only a few
13 altitude zones were known with uncertain wind velocities, balloons could not be maneuvered
14 precisely. The consequence would be that a tight array of balloons could not be maintained,
15 as both existing and newly-launched balloons would drift in uncertain ways and could not be
16 controlled with precision.
17           Trade Secret Category Two: Hover Algorithm
18           1. Space Data’s optimized dimensions, shape, and design of vent and ballast as were
19 on display to Google during the February 2008 visit. Photos of the optimized vent and ballast
20 that were shown to Google are attached thereto as Exhibit B to the Fifth Amended 2019.10
21 Statement. This trade secret covers the particular vent depicted in the photos in Exhibit B to
22 the Fifth Amended 2019.10 Statement which has a cylindrical base, a cone-shaped top,
23 measures approximately 3-inches-wide and approximately 5-inches-high and has one hole
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     PLAINTIFF’S JULY 13, 2018 AMENDED RESPONSES TO         9          Case No. 5:16-cv-03260-BLF (NC)
     GOOGLE’S INTERROGATORY NOS. 12, 15, 16, 17, 19, 20 & 23                         (HC:AEO)
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     PLAINTIFF’S JULY 13, 2018 AMENDED RESPONSES TO         10   Case No. 5:16-cv-03260-BLF (NC)
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 1
 2          These 2019 Trade Secrets are Space Data’s proprietary confidential information and
 3 constitute Space Data Confidential Information under the parties’ NDA. Google’s use and
 4 disclosure of the 2019 Trade Secrets outside the bounds of the parties’ NDA constitutes a
 5 breach of contract. To the extent that any of the information identified as a 2019 Trade
 6 Secret by Space Data is found not to constitute a trade secret under applicable law (or, in the
 7 event Space Data’s 2019.210 Disclosure is found to be insufficiently detailed), these asserted
 8 trade secrets remain, nonetheless, Space Data Confidential Information and any disclosure or
 9 use of that information outside the bounds of the NDA would still be a breach of contract.
10          Further, Space Data identified, pursuant to the NDA, an enumerated list of 16
11 categories of confidential information disclosed to Google during the February 2008 visit to
12 Space Data’s facilities in an email from Eric Frische to Michael Pearson, dated February 19,
13 2008. See GOOG-SD-00157496. Each of those identified categories constitutes Space Data
14 Confidential Information, as do the vision slides and financial information shared with
15 Google prior to the February 2008 visit. The vision slides and financial information shared
16 with Google prior to the February 19, 2008 visit were identified as Confidential Information
17 at the time of disclosure to Google. For example, the vision slides provided to Google on
18 January 2, 2008 by email were marked “Proprietary / Confidential.” Google’s use and
19 disclosure of this Confidential Information outside the bounds of the parties’ NDA
20 constitutes a breach of contract.
21          To the extent Space Data’s Original, First Amended, Second Amended, Third
22 Amended and Fourth Amended 2019 Statements identified information as trade secrets that
23 is in addition to the Confidential Information described in the preceding responsive
24 paragraphs, this additional information constitutes Space Data proprietary confidential
25 information and constitutes Space Data Confidential Information under the parties’ NDA.
26 Google’s use and disclosure of this Confidential Information outside the bounds of the
27 parties’ NDA constitutes a breach of contract.
28

     PLAINTIFF’S JULY 13, 2018 AMENDED RESPONSES TO         16       Case No. 5:16-cv-03260-BLF (NC)
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 1 See also Space Data’s response to Interrogatories 13 and 14.
 2 INTERROGATORY NO. 15:
 3           State all facts and identify all documents that support your contention that you
 4 have been injured by any use or disclosure of any item of Confidential Information by
 5 Google in violation of the NDA, and identify all persons with knowledge of such facts.
 6 AMENDED (07/13/2018) RESPONSE:
 7           Space Data refers to and incorporates by reference each of the foregoing General
 8 Objections. In addition to the foregoing General Objections, Space Data specifically objects
 9 to this interrogatory because, amongst other things, the request’s reference to “all facts”; “all
10 documents”; and “all persons” renders it overly broad, unduly burdensome and not
11 reasonably calculated to lead to the discovery of admissible evidence. Space Data further
12 objects to this request as premature to the extent it seeks information that is the subject of
13 expert discovery. Space Data’s technical experts are assessing Defendants’ use of Space
14 Data’s confidential information; such assessments will ultimately inform the damages
15 analysis in this case. Space Data’s damages and technical experts have not concluded their
16 analysis and are not expected to do so until opening expert reports are due (September 27,
17 2018). The close of expert discovery in this case is December 7, 2018.
18            Space Data further objects to this request to the extent it includes subparts that
19 should be propounded, numbered, or counted as separate interrogatories in accordance with
20 Federal Rules of Civil Procedure 33. Space Data further objects to this interrogatory to the
21 extent it seeks information within Defendants possession, custody and/or control, and/or
22 information more easily available to Defendants, as through public sources. Space Data
23 further objects to this interrogatory to the extent it seeks trade secret, confidential, or
24 proprietary information of a third party, sensitive personal or private information of a third
25 party, or sensitive government information. Space Data further objects to this interrogatory
26 to the extent it seeks information, documents, and/or things protected by the attorney-client
27 privilege, the work-product doctrine, or any other applicable privilege or immunity.
28

     PLAINTIFF’S JULY 13, 2018 AMENDED RESPONSES TO         17          Case No. 5:16-cv-03260-BLF (NC)
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 1          Subject to, and without waiver of, the foregoing General and Specific Objections,
 2 Space Data responds further as follows:
 3          The parties entered into The Mutual Non-Disclosure Confidentiality and
 4 Nondisclosure Agreement (“NDA”) effective as of December 1, 2007, for the purpose of
 5 engaging in “discussions and negotiations concerning a proposed acquisition of shares or
 6 assets” of Space Data. This was the only permissible use of the Space Data information.
 7          Because Google told Space Data it was interested in acquiring the company and
 8 because the parties had executed the two-way NDA, Space Data provided Google with
 9 unprecedented access to confidential, proprietary information and trade secrets. Space Data
10 felt Google’s interest in acquiring the company was sincere, since Google co-founders Larry
11 Page and Sergey Brin both attended Space Data’s first meeting at Google’s headquarters in
12 September 2007 and a follow-on meeting in November 2007. Then, on November 28, 2007,
13 Minnie Ingersoll emailed Space Data and copied Mike Pearson from Google’s corporate
14 development team saying “I think he’s the right person to help us take this discussion into
15 more formal deal terms.” See GOOG-SD-00144458. Once the NDA was signed, Space
16 Data provided Google with its proprietary historical financial statements, financial
17 projections, and modeling, which revealed information regarding all the relevant cost
18 variables relevant to running a balloon-based communications network. Space Data’s
19 financial details are not publicly known and its financial model was proprietarily developed
20 over years of operating as the only balloon-based communications company. Detail about
21 the actual cost drivers of a balloon-based communications network, developed from Space
22 Data’s actual operational experience, provided value and a competitive advantage to Space
23 Data. These details were only provided to Google for the purpose of evaluating a potential
24 acquisition.
25          Space Data also provided proprietary “vision” slides to Google, which detailed
26 different potential applications of Space Data’s technology. These slides were also
27 designated as confidential under the NDA. As described fully in the Third Amended
28

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 1 Project Loon constitutes a breach of the NDA. Defendants’ disclosure of certain Space
 2 Data’s trade secrets and confidential information in Google’s ’193 Patent application as and
 3 asserted “ownership” of Space Data’s intellectual property is also a breach of the NDA as it
 4 violates § 8, which states that “[no Party acquires any intellectual property rights under this
 5 Agreement[.] Google also breached the NDA by sharing proprietary, Space Data
 6 information with the entire Google Access group in contravention of the purpose of the
 7 NDA, which was to evaluate and acquisition or business partnership with Space Data.
 8          Space Data suffered damage as a direct and proximate result of Defendants’ breaches
 9 of the NDA. Assuming that Google had performed on the NDA (i.e. had kept Space Data’s
10 confidential information and trade secrets secret and not used the information in
11 contravention to the purpose of the NDA), Space Data would not have to be competing with
12 Loon while Google used Space Data’s own technology. Space Data would not have lost out
13 on potential profits to Loon if Google had not usurped Space Data’s confidential information
14 out right. See July 10, 2018 Amended Response to Interrogatory No. 6. The injury suffered
15 by Space Data includes, without limitation, the loss of sales and profits it would have earned
16 but for Defendants’ actions, and injury to Space Data’s reputation among potential and
17 existing customers, business partners, investors, and in the industry in general.
18          The calculation of Space Data’s damages for Google’s breach may include, without
19 limitation, loss of profits Space Data would have earned but for Google’s breach,
20 disgorgement for unjust enrichment by the Defendants, payment of reasonable royalty fees,
21 as well as injunctive relief. Space Data also seeks pre-judgment and post-judgment interest
22 on the damages caused to them by reason of Defendants’ conduct at the maximum legal rates
23 provided by statute or law and an award for its costs and disbursements in this civil action,
24 including reasonable attorneys’ fees.
25          1.      Lost Profits
26          Google benefitted from breaching the NDA by, among other things, using Space
27 Data’s proprietary technical and financial data on how to establish and run an optimal
28

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 1 benefit of the tens of millions of dollars and 200,000 flight hours poured into Space Data, and
 2 never paid Space Data a penny. It soaked up the information Space Data shared under NDA,
 3 and then used it for its own purposes to jumpstart Project Loon.
 4          The doctrine of unjust enrichment is an equitable principle based on the idea that one
 5 party should not be able to unjustly enrich itself at the expense of another. The principle of
 6 unjust enrichment goes beyond merely restoring what a plaintiff actually lost. Defendant was
 7 unjustly enriched if its misappropriation of plaintiff’s trade secrets caused Defendants to
 8 receive a benefit that it otherwise would not have achieved. A party acting in conscious
 9 disregard of the rights of another should be required to disgorge all profit in order to benefit
10 the injured party and deter the perpetrator from committing unlawful acts again. Here, not
11 only did Space Data not get the benefit of the NDA bargain (Google keeping Space Data’s
12 information confidential and using it only to evaluate a potential acquisition), Google has
13 also misused Space Data’s information for its own profit.
14          Another potential way of measuring unjust enrichment is the entire enterprise or
15 acquisition value of a Space Data. Where there is substantial evidence a defendant would
16 have acquired plaintiff if it had not chosen to misappropriate plaintiff’s trade secrets instead,
17 acquisition value may be an appropriate measure. See X-It Products, LLC v Walter Kidde
18 Portable Equipment, Inc., 227 F. Supp. 2d 494 (E.D. Va. 2002). Here, instead of acquiring
19 Space Data’s intellectual property through a purchase of the company (or license), Google
20 simply took what it wanted. The quantum of those damages-whether considered as damages
21 for trade secret misappropriation or Defendants’ use of Space Data’s information in breach of
22 the parties’ NDA- is what Defendants would have paid in a legitimate acquisition of Space
23 Data.
24          Another measure of unjust enrichment to Defendants is the expected cost savings to
25 Defendants from using Space Data’s trade secrets in Defendants’ Google Loon. Due to the
26 misappropriation of Space Data’s trade secrets, Defendants will benefit from many years of
27 future cost savings due to employing Space Data’s trade secrets in Google Loon’s systems.
28

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                   evidence probative of the value of that use.
 1
           12.     The portion of the profit or of the selling price that may be customary in the
 2                 particular business or in comparable businesses to allow for the use of the
                   invention or analogous inventions.
 3
           13.     The portion of the realizable profit that should be credited to the invention as
 4                 distinguished from non-patented elements, the manufacturing process, business
                   risks, or significant features or improvements added by the infringer.
 5
 6         14.     The opinion testimony of qualified experts.

 7         15.     The amount that a licensor (such as the patentee) and a license (such as the
                   infringer) would have agreed upon (at the time the infringement began) if both
 8                 had been reasonably and voluntarily trying to reach an agreement; that is, the
                   amount which a prudent licensee—who desired, as a business proposition, to
 9                 obtain a license to manufacture and sell a particular article embodying the
                   patented invention—would have been willing to pay as a royalty and yet be
10                 able to make a reasonable profit and which amount would have been
                   acceptable by a prudent patentee who was willing to grant a license.
11
            Georgia-Pacific Factor 1. Space Data has never licensed any of the trade secrets or
12
     confidential information relevant to this matter.
13
            Georgia-Pacific Factor 2. Existing licenses for comparable technology can inform a
14
     reasonable royalty in real-life royalty negotiations and in the determination of reasonable
15
     royalty damages in litigation. Google has not produced any comparable licenses to date.
16
     Space Data notes that Google has refused to produce information relevant to the value of
17
     technologies with comparable applications to Space Data’s products and Loon (e.g. Skybox
18
     Imaging acquisition and sale data).
19
            Georgia-Pacific Factor 3. Expert analysis as to the scope of the license has not yet
20
     been completed.
21
            Georgia-Pacific Factor 4. A licensor with an established policy of refusing to grant
22
     licenses to competitors may be able to receive a higher royalty rate than a licensor that
23
     routinely grants licenses. As discussed above, Space Data has not licensed its trade secrets or
24
     confidential information to third parties. The fact that Space Data does not license, but sells
25
     its own services, would increase the royalty rate as compared with an entity that licenses its
26
     technology. This is particularly true when licensing to a direct competitor, Google here.
27
            Georgia-Pacific Factor 5. As described above in response to Interrogatory No. 6,
28

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 1 provide technical knowledge, background, and assumptions that will be used to supplement
 2 and guide any analyses of damages. To date, no technical expert has conducted any analysis
 3 or offered any opinions on the technical matters related to this case. As such, further
 4 technical expert opinion is required.
 5          4.      Injunctive Relief
 6          The NDA explicitly provides that: “Each Party acknowledges that damages for
 7 improper disclosure of Confidential Information may be irreparable; therefore, the injured
 8 Party is entitled to seek equitable relief, including injunction and preliminary injunction, in
 9 addition to all remedies available to it."
10          Several factors weigh in favor of an injunction here.
11          Factor 1: Irreparable Injury
12          Google’s continued misuse of Space Data’s confidential information and trade secrets
13 gives it an unfair advantage in the marketplace. Courts have found irreparable harm when a
14 defendant’s misappropriation allows it to gain a competitive edge in a nascent or fast-
15 growing market, like balloon-based internet services here. Damage to reputation can be hard
16 to quantify, as can price erosion, but that does not mean the irreparable injury does not occur.
17 Space Data will continue to suffer significant damage to its goodwill if Loon continues to be
18 allowed to compete using Space Data’s own technology.
19          Here, Space Data is very much a practicing entity, its principal business (in fact its
20 only business) centers on balloon-borne internet and communication systems; and Google
21 Loon competes directly with Space Data, including in the domestic United States. It has an
22 office and manufacturing facility in Chandler, Arizona. It has the ability to scale-up its
23 manufacturing and indeed has done so to meet high demand in the past. Space Data has, in
24 the past 4 years, been in commercial negotiations with and provided commercial
25 demonstrations for                                   and has had commercial discussions with
26          as well. See SD_825887-888; SD_825899-803; SD_825908; SD_825910-911;
27 SD_825921-923; SD_825741-743; SD_825972-973; SD_825747-750; SD_825744-746;
28

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 1 head start and helped Google avoid millions in costs in their efforts to establish a
 2 commercially-viable network.
 3          Factor 2: Inadequate Remedies at Law
 4          Space Data has never licensed its technology, has a business to protect, including its
 5 business reputation, its reputation for inventiveness, its pricing curves, and the like. The
 6 same reasons supporting the fact that Space Data will suffer irreparable harm support a
 7 finding that monetary damages are an inadequate remedy here. Courts have found that the
 8 showing of a head-start advantage based on improper use of a competitor’s technology is
 9 sufficient to establish that harm to the plaintiff cannot be remedied by money damages alone.
10 See Netlist Inc. v. Diablo Techs Inc., No. 13-cv-05962-YGR 2015 WL 153724, at *8 (N.D.
11 Cal. Jan. 12, 2105). The head-start gained by Google has already done significant damage to
12 Space Data and should not be allowed to continue.
13          Factor 3: The Balance of Equities
14          Where, as here, Space Data has invested years of time and tens of millions of dollars
15 in developing its confidential information and trade secrets, it is profoundly inequitable to
16 effectively “acquire” all of that knowhow without payment to Space Data and position itself
17 as a direct competitor. To put this in context here, if Google can compete with Space Data
18 directly, using Space Data’s own patented technology, trade secrets, and confidential
19 information, then Google will have an enormous competitive advantage, given its unlimited
20 wealth, lobbying connections, and the fear it commands given its ability to retaliate against
21 smaller competitors selling competing products. There is a reason, for example, that the EU
22 just levied a multibillion dollar fine against Google. Another important factor here is
23 whether the Defendant knowingly built its business in contradiction of the IP rights of others,
24 as Google did here. The balance of hardships favors Space Data. While Google may face
25 some cost in being enjoined from making, selling, or using Loon, that is the price a company
26 pays when it builds its business on an information it misappropriates. On the other hand,
27
28

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 1 Space Data continues to suffer severe hardship by being forced to compete against its own
 2 trade secrets and patented technology.
 3          Factor 4: The Public Interest
 4          Finally, the public interest is enhanced by a court entering a permanent injunction is
 5 circumstances such as these. Any other rule would encourage a much larger competitor to
 6 cannibalize its much smaller competitors, even though the smaller competitors are often the
 7 source of valuable innovation in the marketplace generally. Why invest in innovation when a
 8 Google can simply get a smaller company to reveal its proprietary information under NDA,
 9 breach the NDA and use the proprietary information and trade secrets for Google’s own
10 projects – claiming the projects were developed organically at Google -- and then pay a mere
11 small royalty as it runs its competitor out of business? That is hardly equitable. There is also
12 a strong public interest in protecting intellectual property rights.
13          See also Responses to Interrogatories 6, 7, 8, and 16.
14 INTERROGATORY NO. 16:
15          Describe in detail the types of damages to which you contend you are entitled as
16 relief for your claim of breach of the NDA.
17 AMENDED (07/13/2018) RESPONSE:
18          Space Data refers to and incorporates by reference each of the foregoing General
19 Objections. In addition to the foregoing General Objections, Space Data specifically objects
20 to this interrogatory because, amongst other things, “types of damages” renders it vague,
21 ambiguous and overly broad. Space Data further objects to this interrogatory to the extent it
22 seeks information within Defendants possession, custody and/or control, and/or information
23 more easily available to Defendants, as through public sources. Space Data further objects to
24 this request as premature to the extent it seeks information that is the subject of expert
25 discovery, as Plaintiff intends to rely on expert assistance in performing damages
26 computations. Space Data also objects to this interrogatory to the extent it seeks trade secret,
27 confidential, or proprietary information of a third party, sensitive personal or private
28

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 1 information of a third party, or sensitive government information. Space Data further objects
 2 to this interrogatory to the extent it seeks information, documents, and/or things protected by
 3 the attorney-client privilege, the work-product doctrine, or any other applicable privilege or
 4 immunity.
 5          Subject to, and without waiver of, the foregoing General and Specific Objections,
 6 Space Data responds further as follows:
 7          Space Data suffered damage as a direct and proximate result of Defendants’ breaches
 8 of the NDA. Assuming that Google had performed on the NDA (i.e. had kept Space Data’s
 9 confidential information and trade secrets secret and not used the information in
10 contravention to the purpose of the NDA), Space Data would not have to be competing with
11 Loon while Google used Space Data’s own technology. Space Data would not have lost out
12 on potential profits to Loon if Google had not usurped Space Data’s confidential information
13 out right. See July 10, 2018 Amended Response to Interrogatory No. 6. The injury suffered
14 by Space Data includes, without limitation, the loss of sales and profits it would have earned
15 but for Defendants’ actions, and injury to Space Data’s reputation among potential and
16 existing customers, business partners, investors, and in the industry in general.
17          The calculation of Space Data’s damages for Google’s breach may include, without
18 limitation, loss of profits Space Data would have earned but for Google’s breach,
19 disgorgement for unjust enrichment by the Defendants, payment of reasonable royalty fees,
20 as well as injunctive relief. Space Data also seeks pre-judgment and post-judgment interest
21 on the damages caused to them by reason of Defendants’ conduct at the maximum legal rates
22 provided by statute or law and an award for its costs and disbursements in this civil action,
23 including reasonable attorneys’ fees.
24          1.      Lost Profits
25          Google benefitted from breaching the NDA by, among other things, using Space
26 Data’s proprietary technical and financial data on how to establish and run an optimal
27 balloon-based network, saving Google the substantial costs it would have had to occur to
28

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 1 develop that information on its own. This helped Google advance it time to market and keep
 2 it competitive. Space Data is entitled to the difference in profits between the actual and the
 3 so-called “but-for” world absent Google’s breach of the NDA. Plaintiff should be awarded
 4 its lost profits as a result of the breach if the breach caused it to lose sales, to receive a lower
 5 price or margin on sales than it otherwise would have received (so-called “price erosion”), or
 6 to incur costs that it otherwise would not have incurred.
 7           Space Data was and remains a fully operating business. It has an office and
 8 manufacturing facility in Chandler, Arizona. It has the ability to scale-up its manufacturing
 9 process manufacture and indeed has done so to meet high demand in the past. Space Data
10 has, in the past 4 years, been in commercial negotiations with and provided commercial
11 demonstrations for                                     and has had commercial discussions with
12          as well. See SD_825887-888; SD_825899-803; SD_825908; SD_825910-911;
13 SD_825921-923; SD_825741-743; SD_825972-973; SD_825747-750; SD_825744-746;
14 SD_825949-951; SD_825941-945; SD_825929-933; SD_825924-928; SD_825946-948;
15 SD_825934-940; SD_825912-914; SD_826017-020; SD_825884; SD_825909; SD_825979-
16 981; SD_825777-782; SD_825789; SD_825783-788; SD_825766-776; SD_825982-987;
17 SD_825988-990; SD_825991-995; SD_825996-; SD_825997-6001; SD_826002-007;
18 SD_826008; SD_826009-012; SD_826013; SD_826014-015; SD_.825896-898; SD_825885-
19 886; SD_825903-904; SD_825899-902; SD_825893-895; SD_825891-892; SD_825905-906.
20           Space Data has also marketed its high altitude balloon system for wide-area disaster
21 communications since 2001, as its technology offers a quick way to deploy coverage to an
22 area affected by natural disasters or other emergencies in less than 30 minutes. See
23 SD_521364-382; SD_825919. Over the past few years, Space Data has been in
24 conversations with             to collaborate                                        a project
25 which is exploring ways to establish broadband coverage for emergency first responders or to
26 restore or expand networks after a disaster. See SD_825908; SD_825910-911; SD_825970-
27 971. These are two areas Google has solidly set its sights on.
28

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 1 never paid Space Data a penny. It soaked up the information Space Data shared under NDA,
 2 and then used it for its own purposes to jumpstart Project Loon.
 3          The doctrine of unjust enrichment is an equitable principle based on the idea that one
 4 party should not be able to unjustly enrich itself at the expense of another. The principle of
 5 unjust enrichment goes beyond merely restoring what a plaintiff actually lost. Defendant was
 6 unjustly enriched if its misappropriation of plaintiff’s trade secrets caused Defendants to
 7 receive a benefit that it otherwise would not have achieved. A party acting in conscious
 8 disregard of the rights of another should be required to disgorge all profit in order to benefit
 9 the injured party and deter the perpetrator from committing unlawful acts again. Here, not
10 only did Space Data not get the benefit of the NDA bargain (Google keeping Space Data’s
11 information confidential and using it only to evaluate a potential acquisition), Google has
12 also misused Space Data’s information for its own profit.
13          Another potential way of measuring unjust enrichment is the entire enterprise or
14 acquisition value of a Space Data. Where there is substantial evidence a defendant would
15 have acquired plaintiff if it had not chosen to misappropriate plaintiff’s trade secrets instead,
16 acquisition value may be an appropriate measure. See X-It Products, LLC v Walter Kidde
17 Portable Equipment, Inc., 227 F. Supp. 2d 494 (E.D. Va. 2002). Here, instead of acquiring
18 Space Data’s intellectual property through a purchase of the company (or license), Google
19 simply took what it wanted. The quantum of those damages-whether considered as damages
20 for trade secret misappropriation or Defendants’ use of Space Data’s information in breach of
21 the parties’ NDA- is what Defendants would have paid in a legitimate acquisition of Space
22 Data.
23          Another measure of unjust enrichment to Defendants is the expected cost savings to
24 Defendants from using Space Data’s trade secrets in Defendants’ Google Loon. Due to the
25 misappropriation of Space Data’s trade secrets, Defendants will benefit from many years of
26 future cost savings due to employing Space Data’s trade secrets in Google Loon’s systems.
27 Google avoided millions of dollars in cost in not having to experiment with flying balloons at
28

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 1 different altitudes to determine the best place to position them to sail with the winds, the
 2 quality of the winds in the                                                : it already had that
 3 information from Space Data. Google didn’t need to do its own research to determine that
 4                                                                             for insulation at
 5 altitude or the best way to address thermal management concerns at 65,000 feet: it already
 6 knew that from Space Data. Google also didn’t have to expend extra time and money on its
 7 own hover algorithm, it could start from the knowledge Space Data shared with it. The same
 8 is true for Google’s Mission Control and financial modeling, all of it could be advanced by
 9 years based on starting with the information Space Data provided to Google under the guise
10 of Google’s interest in an acquisition.
11          Another measure of unjust enrichment to Defendants is the expected cost savings due
12 to reduced development expenses from using Space Data’s trade secrets in Defendants’
13 Google Loon systems. One way to measure the costs that Defendants saved through their
14 misappropriation of Space Data’s trade secrets is by looking at the costs that Space Data
15 incurred to develop those trade secrets. See also Response to Interrogatory No. 7.
16          3.      Reasonable Royalty
17          Damages may also be measured by a reasonable royalty in a manner similar to the
18 method used to value trade secret damage and patent damages. There are different
19 methodologies for calculating reasonable royalties which may be applicable to damages in
20 this matter, namely, a Georgia-Pacific approach, an “analytical” approach, a cost saving
21 approach, and a comparables approach.
22          Properly constructed, the hypothetical negotiation reflects the relevant expectations
23 and market factors that would have affected a real-world licensing negotiation. Even though
24 there are no profits from the Google Loon yet, Google expects robust profits in the future and
25 this expectation would inform a hypothetical negotiation and drive Google’s willingness to
26
27
28

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                   evidence probative of the value of that use.
 1
           27.     The portion of the profit or of the selling price that may be customary in the
 2                 particular business or in comparable businesses to allow for the use of the
                   invention or analogous inventions.
 3
           28.     The portion of the realizable profit that should be credited to the invention as
 4                 distinguished from non-patented elements, the manufacturing process, business
                   risks, or significant features or improvements added by the infringer.
 5
 6         29.     The opinion testimony of qualified experts.

 7         30.     The amount that a licensor (such as the patentee) and a license (such as the
                   infringer) would have agreed upon (at the time the infringement began) if both
 8                 had been reasonably and voluntarily trying to reach an agreement; that is, the
                   amount which a prudent licensee—who desired, as a business proposition, to
 9                 obtain a license to manufacture and sell a particular article embodying the
                   patented invention—would have been willing to pay as a royalty and yet be
10                 able to make a reasonable profit and which amount would have been
                   acceptable by a prudent patentee who was willing to grant a license.
11
            Georgia-Pacific Factor 1. Space Data has never licensed any of the trade secrets or
12
     confidential information relevant to this matter.
13
            Georgia-Pacific Factor 2. Existing licenses for comparable technology can inform a
14
     reasonable royalty in real-life royalty negotiations and in the determination of reasonable
15
     royalty damages in litigation. Google has not produced any comparable licenses to date.
16
     Space Data notes that Google has refused to produce information relevant to the value of
17
     technologies with comparable applications to Space Data’s products and Loon (e.g. Skybox
18
     Imaging acquisition and sale data).
19
            Georgia-Pacific Factor 3. Expert analysis as to the scope of the license has not yet
20
     been completed.
21
            Georgia-Pacific Factor 4. A licensor with an established policy of refusing to grant
22
     licenses to competitors may be able to receive a higher royalty rate than a licensor that
23
     routinely grants licenses. As discussed above, Space Data has not licensed its trade secrets or
24
     confidential information to third parties. The fact that Space Data does not license, but sells
25
     its own services, would increase the royalty rate as compared with an entity that licenses its
26
     technology. This is particularly true when licensing to a direct competitor, Google here.
27
            Georgia-Pacific Factor 5. As described above in response to Interrogatory No. 6,
28

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 1 provide technical knowledge, background, and assumptions that will be used to supplement
 2 and guide any analyses of damages. To date, no technical expert has conducted any analysis
 3 or offered any opinions on the technical matters related to this case. As such, further
 4 technical expert opinion is required.
 5          4.      Injunctive Relief
 6          The NDA explicitly provides that: “Each Party acknowledges that damages for
 7 improper disclosure of Confidential Information may be irreparable; therefore, the injured
 8 Party is entitled to seek equitable relief, including injunction and preliminary injunction, in
 9 addition to all remedies available to it."
10          Several factors weigh in favor of an injunction here.
11          Factor 1: Irreparable Injury
12          Google’s continued misuse of Space Data’s confidential information and trade secrets
13 gives it an unfair advantage in the marketplace. Courts have found irreparable harm when a
14 defendant’s misappropriation allows it to gain a competitive edge in a nascent or fast-
15 growing market, like balloon-based internet services here. Damage to reputation can be hard
16 to quantify, as can price erosion, but that does not mean the irreparable injury does not occur.
17 Space Data will continue to suffer significant damage to its goodwill if Loon continues to be
18 allowed to compete using Space Data’s own technology.
19          Here, Space Data is very much a practicing entity, its principal business (in fact its
20 only business) centers on balloon-borne internet and communication systems; and Google
21 Loon competes directly with Space Data, including in the domestic United States. It has an
22 office and manufacturing facility in Chandler, Arizona. It has the ability to scale-up its
23 manufacturing and indeed has done so to meet high demand in the past. Space Data has, in
24 the past 4 years, been in commercial negotiations with and provided commercial
25 demonstrations for                                   and has had commercial discussions with
26          as well. See SD_825887-888; SD_825899-803; SD_825908; SD_825910-911;
27 SD_825921-923; SD_825741-743; SD_825972-973; SD_825747-750; SD_825744-746;
28

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 1 SD_825949-951; SD_825941-945; SD_825929-933; SD_825924-928; SD_825946-948;
 2 SD_825934-940; SD_825912-914; SD_826017-020; SD_825884; SD_825909; SD_825979-
 3 981; SD_825777-782; SD_825789; SD_825783-788; SD_825766-776; SD_825982-987;
 4 SD_825988-990; SD_825991-995; SD_825996-; SD_825997-6001; SD_826002-007;
 5 SD_826008; SD_826009-012; SD_826013; SD_826014-015; SD_.825896-898; SD_825885-
 6 886; SD_825903-904; SD_825899-902; SD_825893-895; SD_825891-892; SD_825905-906.
 7          Space Data has also marketed its high altitude balloon system for wide-area disaster
 8 communications since 2001, as its technology offers a quick way to deploy coverage to an
 9 area affected by natural disasters or other emergencies in less than 30 minutes. See
10 SD_521364-382; SD_825919. Over the past few years, Space Data has been in
11 conversations with            to collaborate                                     a project
12 which is exploring ways to establish broadband coverage for emergency first responders or to
13 restore or expand networks after a disaster. See SD_825908; SD_825910-911; SD_825970-
14 971. Space Data also has historically been and remains a major partner of the U.S.
15 Department of Defense in providing remote voice, wireless internet, and imagining services.
16          Space Data has raised over $75 million in private capital to fund the development of
17 its technology and business. From 2007 through 2017, Space Data generated total income of
18 over                , with gross profits of nearly            . Ever since Loon made its public
19 debut in 2013, Space Data has had to compete against Google for customers, all while
20 Google gets to take the benefit of Space Data’s patented technology and proprietary trade
21 secrets. Google operates in the same market areas as Space Data and engages in negotiations
22 with the same domestic carriers and government divisions. Space Data has been hamstrung
23 in its ability to close deals since Loon’s arrival. See also Response to Interrogatory 6.
24          In particular, Space Data lost out to Google in a bid to provide wireless coverage to
25 Puerto Rico following Hurricane Maria in 2017. While the was a humanitarian project, the
26 benefits to the company winning the bid went well beyond good P.R. about charitable efforts.
27 The Loon Puerto Rico trial allowed Google to prove that Loon works and redounded
28

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 1 head start and helped Google avoid millions in costs in their efforts to establish a
 2 commercially-viable network.
 3          Factor 2: Inadequate Remedies at Law
 4          Space Data has never licensed its technology, has a business to protect, including its
 5 business reputation, its reputation for inventiveness, its pricing curves, and the like. The
 6 same reasons supporting the fact that Space Data will suffer irreparable harm support a
 7 finding that monetary damages are an inadequate remedy here. Courts have found that the
 8 showing of a head-start advantage based on improper use of a competitor’s technology is
 9 sufficient to establish that harm to the plaintiff cannot be remedied by money damages alone.
10 See Netlist Inc. v. Diablo Techs Inc., No. 13-cv-05962-YGR 2015 WL 153724, at *8 (N.D.
11 Cal. Jan. 12, 2105). The head-start gained by Google has already done significant damage to
12 Space Data and should not be allowed to continue.
13          Factor 3: The Balance of Equities
14          Where, as here, Space Data has invested years of time and tens of millions of dollars
15 in developing its confidential information and trade secrets, it is profoundly inequitable to
16 effectively “acquire” all of that knowhow without payment to Space Data and position itself
17 as a direct competitor. To put this in context here, if Google can compete with Space Data
18 directly, using Space Data’s own patented technology, trade secrets, and confidential
19 information, then Google will have an enormous competitive advantage, given its unlimited
20 wealth, lobbying connections, and the fear it commands given its ability to retaliate against
21 smaller competitors selling competing products. There is a reason, for example, that the EU
22 just levied a multibillion dollar fine against Google. Another important factor here is
23 whether the Defendant knowingly built its business in contradiction of the IP rights of others,
24 as Google did here. The balance of hardships favors Space Data. While Google may face
25 some cost in being enjoined from making, selling, or using Loon, that is the price a company
26 pays when it builds its business on an information it misappropriates. On the other hand,
27
28

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 1 Space Data continues to suffer severe hardship by being forced to compete against its own
 2 trade secrets and patented technology.
 3          Factor 4: The Public Interest
 4          Finally, the public interest is enhanced by a court entering a permanent injunction is
 5 circumstances such as these. Any other rule would encourage a much larger competitor to
 6 cannibalize its much smaller competitors, even though the smaller competitors are often the
 7 source of valuable innovation in the marketplace generally. Why invest in innovation when a
 8 Google can simply get a smaller company to reveal its proprietary information under NDA,
 9 breach the NDA and use the proprietary information and trade secrets for Google’s own
10 projects – claiming the projects were developed organically at Google -- and then pay a mere
11 small royalty as it runs its competitor out of business? That is hardly equitable. There is also
12 a strong public interest in protecting intellectual property rights.
13          See also Responses to Interrogatories 6, 7, 8, 15 and 17.
14 INTERROGATORY NO. 17:
15          State all facts and identify all documents that support your claim for damages for
16 breach of the NDA.
17 AMENDED (07/13/2018) RESPONSE:
18          Space Data refers to and incorporates by reference each of the foregoing General
19 Objections. In addition to the foregoing General Objections, Space Data specifically objects
20 to this interrogatory because amongst other things, the request’s reference to “all facts” and
21 “all documents” renders it overly broad, unduly burdensome and not reasonably calculated to
22 lead to the discovery of admissible evidence. Space Data also objects to this request to the
23 extent it includes subparts that should be propounded, numbered, or counted as separate
24 interrogatories in accordance with Federal Rules of Civil Procedure 33. Space Data further
25 objects to this interrogatory to the extent it seeks information within Defendants possession,
26 custody and/or control, and/or information more easily available to Defendants, as through
27 public sources. Plaintiff objects to this request as premature as Plaintiff intends to rely on
28

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 1 expert assistance in performing damages computations and expert discovery has not yet
 2 begun. Space Data also objects to this interrogatory to the extent it seeks trade secret,
 3 confidential, or proprietary information of a third party, sensitive personal or private
 4 information of a third party, or sensitive government information. Space Data further objects
 5 to this interrogatory to the extent it seeks information, documents, and/or things protected by
 6 the attorney-client privilege, the work-product doctrine, or any other applicable privilege or
 7 immunity.
 8          Subject to, and without waiver of, the foregoing General and Specific Objections,
 9 Space Data responds further as follows:
10          See Response to Interrogatory No. 16, above. See also Response to Interrogatory
11 Nos. 6, 7, 8 and 15.
12 INTERROGATORY NO. 19:
13          Separately for each Asserted Trade Secret, state all facts and identify all
14 documents that support your contention that the Asserted Trade Secret is not generally
15 known to the public or to other persons who can obtain economic value from its
16 disclosure or use, and identify all persons with knowledge of such facts.
17 AMENDED (07/13/2018) RESPONSE:
18          Space Data refers to and incorporates by reference each of the foregoing General
19 Objections. In addition to the foregoing General Objections, Space Data specifically objects
20 to this interrogatory because amongst other things, the phrase “other persons who can obtain
21 economic value from its disclosure or use” is vague and ambiguous, and the request’s
22 reference to “all facts”; “all documents”; and “all persons” renders it overly broad, unduly
23 burdensome and not reasonably calculated to lead to the discovery of admissible evidence.
24 Space Data also objects to this request to the extent it includes subparts that should be
25 propounded, numbered, or counted as separate interrogatories in accordance with Federal
26 Rules of Civil Procedure 33. Space Data further objects to this interrogatory to the extent it
27 seeks information within Defendants possession, custody and/or control, and/or information
28

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 1 more easily available to Defendants, as through public sources. Space Data also objects to this
 2 interrogatory as premature, given that Space Data has not completed its investigation of facts,
 3 witnesses or documents relating to this case, has not completed discovery (for example,
 4 Defendants’ response to Space Data’s Interrogatory No. 25 is outstanding), has not completed
 5 analysis of available information, and has not completed preparation for trial. Space Data
 6 further objects to this interrogatory to the extent it seeks information, documents, and/or
 7 things protected by the attorney-client privilege, the work-product doctrine, or any other
 8 applicable privilege or immunity.
 9          Subject to, and without waiver of, the foregoing General and Specific Objections,
10 Space Data responds further as follows:
11          Space Data’s trade secrets are not generally known and are not readily ascertainable,
12 and Space Data has not disclosed its trade secrets in its patents. See Responses to
13 Interrogatory Nos. 13 and 16 (preservation of secrecy and damages); Fifth Amended 2019
14 Statement (Space Data’s wind data trade secrets are not disclosed by Space Data’s patents
15 and explaining that by 2008 Space Data had cataloged over 200,000 flight hours of wind data
16                                       Third Amended Complaint, ¶¶298 & 307.
17          The fact that Google filed patent applications copying Space Data’s technology
18 proves that Google itself believed the ideas were not public; otherwise, Google could not
19 have filed the applications it did.
20          Space Data had to painstakingly develop each and every one of its trade secrets on its
21 own. That would not have been necessary if they had been “generally known” to the public
22 or readily ascertainable. For example:
23          Hover Algorithm: Space Data had to do tests to see if it was even possible to
24                                  See Transcript of June 1, 2018 Deposition of Eric Frische
25 (“Frische Tr.”) at 37:5-16. Indeed, even one of Space Data’s own engineer’s was “adamant”
26 that this could not be done. Id. It took Space Data “a long time to come to the algorithms”
27 and “mechanical methods built into the vent.” Id. at 229:10-230:6. The “mechanical ballast
28

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 1 design” was critical as well. Id. at 230:7-24. Ballast and vent design required “[l]ots of
 2 calculations,” “chamber tests” and “over a span of a year” of work. Id. at 231:2-232:11.
 3          The design of the components of the vent and ballast system itself and choices about
 4 the materials used for those comments required a great deal of design effort and R&D by
 5 Space Data. See, e.g., Transcript of June 15, 2018 30(b)(6) Deposition of Bill McCullough
 6 (“McCullough 30(b)(6) Tr.”) at 14:14-16:19.
 7          The design of the vent components alone took “on the order of a year and half to two
 8 years” and Space Data had to try “a lot of iterations.” Id. at 32:20-33:25. Many iterations
 9 and changes were required to perfect the vent design shown to Google. Id. at 33:1-38:9. The
10 cost of designing the vent was “nontrivial.” Id. at 38:10-14. Nobody, prior to Space Data,
11 vented latex balloons. Id. at 40:4-7. Space Data had to “start[ ] from scratch doing [its] own
12 analyses, using [its] own materials.” Id. at 41:24-25. “There [weren’t] any textbooks that
13 say[], This is how you vent . . .” Id. at 43:25-44:1.
14          Space Data also had to consider many different variations in designing its ballast
15 components. It had to consider various types of ballast, including multiple types of liquid
16 ballast and multiple types of solid ballast, “dozens of variations.” See id. at 67:9-18’; 90:6-
17 16; 92:16-93:12. It also had to consider multiple auger designs, with consequent impact on
18 auger motor selection. Id. at 90:3-15. Its selection was made based on “empirical data”—in
19 other words, Space Data had to fly and test various designs and components to refine the
20 design it ultimately shared with Google on February 15, 2018. Id.; see also id. at 94:14-
21 97:19.
22          Space Data designed its own hover algorithm. Transcript of June 27, 2018 30(b)(6)
23 Deposition of David Coombs (“Coombs 30(b)(6) Tr.”) at 16:14-15:6. The algorithm itself
24 “was created by looking at past data acquired from manually venting and ballasting the
25 balloon[s].” Id.; see also id. at 21:11-14. In other words, to even begin to deduce what was
26 necessary for the algorithm, Space Data had to build balloons, fly many flights, track the data
27 from those flights, collect that data, and then analyze it. See, e.g., id. at 23:21-24:5. This
28

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 1 data was not and is not available to the public. Nor was the hover algorithm a simple one-
 2 hour coding project. “The initial design . . . took several weeks and it was refined over a
 3 much longer period of time, perhaps years.” Id. at 23:1-5.
 4          Thermal Management: It took Space Data “a long time to get to the point where [it]
 5 could build a system that didn’t require active thermal management” and it is justifiably
 6 “pretty proud of what [it] had to do to overcome the thermal” issues involved in high-altitude
 7 ballooning. Frische Tr. at 237:18-241:3. There was “a lot of R&D in terms of material
 8 choices” and design. Firsche Tr. at 242:17-244:12. It took Space Data a great deal of trial
 9 and error to get the thermal management design right. Frische Tr. at 244:13-245:3.
10          Process Flow for Space Data’s Monitoring of its flight data that was on display
11 during Google’s February 2008 visit: This flow chart describes Space Data’s process flow.
12 It was unique to Space Data. See Frishce Tr. at 247:1-249:22.
13          See also Knoblach Dep., Jul. 11-12, 2018 (discussing development of Space Data
14 trade secrets).
15          Discovery in this matter is ongoing and Space Data reserves the right to supplement
16 this response in light of any new deposition testimony, expert testimony, or other newly
17 discovered facts.
18 INTERROGATORY NO. 20:
19          Separately for each Asserted Trade Secret, state all facts and identify all documents
20 that support your contention that the Asserted Trade Secret derives independent economic
21 value, actual or potential, from not being generally known to the public or to other persons
22 who can obtain economic value from its disclosure or use and identify all persons with
23 knowledge of such facts.
24 RESPONSE:
25           Space Data refers to and incorporates by reference each of the foregoing General
26 Objections. In addition to the foregoing General Objections, Space Data specifically objects
27 to this interrogatory because amongst other things, the phrase “other persons who can obtain
28

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 1 economic value from its disclosure or use” is vague and ambiguous, and the request’s
 2 reference to “all facts”; “all documents”; and “all persons” renders it overly broad, unduly
 3 burdensome and not reasonably calculated to lead to the discovery of admissible evidence.
 4 Space Data also objects to this request to the extent it includes subparts that should be
 5 propounded, numbered, or counted as separate interrogatories in accordance with Federal
 6 Rules of Civil Procedure 33. Space Data further objects to this interrogatory to the extent it
 7 seeks information within Defendants possession, custody and/or control, and/or information
 8 more easily available to Defendants, as through public sources. Space Data also objects to this
 9 interrogatory as premature, given that Space Data has not completed its investigation of facts,
10 witnesses or documents relating to this case, has not completed discovery, has not completed
11 analysis of available information, and has not completed preparation for trial. Space Data
12 further objects to this interrogatory to the extent it seeks information, documents, and/or
13 things protected by the attorney-client privilege, the work-product doctrine, or any other
14 applicable privilege or immunity.
15          Subject to, and without waiver of, the foregoing General and Specific Objections,
16 Space Data responds further as follows:
17          Space Data’s trade secrets derive independent economic value from not being
18 generally known or readily ascertainable. Among other things, the independent economic
19 value of Space Data’s trade secrets is evidenced by the effort, including time and money, that
20 Space Data put into painstakingly developing its trade secrets. See Response to Interrogatory
21 No. 19; ECF 143-1 (Ritchie Dec.), ¶3 (“Space Data . . . has spent year, and tens of millions of
22 dollars in private investment, developing its technology”); ECF 235-1 (Ritchie Dec.), ¶3;
23 Quenneville Dep. at 177:21-23 (“Because it[ (wind data) is] part of our intellectual property,
24 and we have spent many dollars of company resources to get -- collect all that data and
25 understand it.”).
26          The independent economic value of Space Data’s trade secrets is also evidenced by
27 the extensive measures Space Data has taken to maintain the secrecy of its trade secrets over
28

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 1 the course of many years. See Response to Interrogatory No. 13. Clearly Space Data
 2 believes its trade secrets derive independent economic value from not being generally known
 3 or readily ascertainable.
 4          The independent economic value of Space Data’s trade secrets is further evidenced by
 5 Google’s (and Space Data’s) use of Space Data’s trade secrets, and by Google’s intensive
 6 acquisition due diligence of Space Data and its technology. See Response to Interrogatory
 7 No. 14 (discussing Google’s use of Space Data’s trade secrets and Google’s acquisition due
 8 diligence). Google’s intensive patent prosecution campaign with respect to stratospheric
 9 balloon technology also demonstrates the value of Space Data’s trade secrets. See Yaghmour
10 (Google 30(b)(6) designee on “[t]he value and importance of the ‘more than 100 patents for
11 its own Project Loon-related inventions’ to the technical and economic success of Project
12 Loon) Dep. (Rough) at 45:18-46:1 (“Q. . . . How many Project Loon patents does Google
13 currently own . . . . A. I’m going to speculate about 400. Q. 400 Loon-specific patnets? . . . .
14 The Witness: 400 global. Globally.”)
15          The independent economic value of Space Data’s trade secrets if further
16 demonstrated by the competitive advantage Space Data derives from the secrecy of its trade
17 secrets. See Fifth Amended 2019 Statement; ECF 143-1 (Ritchie Dec.), ¶7; ECF 235-1
18 (Ritchie Dec.), ¶6.
19          By way of further example, the independent economic value of Space Data’s trade
20 secrets is also demonstrated by the injury, including damages, Space Data has suffered as a
21 result of Google’s misappropriation. See Response to Interrogatory No. 16.
22 INTERROGATORY NO. 23:
23          Separately for each Asserted Trade Secret, state all facts and identify all
24 documents that support your contention that you have been injured by Google's
25 alleged misappropriation of the Trade Secret and identify all persons with knowledge of
26 such facts.
27 AMENDED (07/13/2018) RESPONSE:
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 1          Space Data refers to and incorporates by reference each of the foregoing General
 2 Objections. In addition to the foregoing General Objections, Space Data specifically objects
 3 to this interrogatory because amongst other things, the request’s reference to “all facts”; “all
 4 documents”; and “all persons” renders it overly broad, unduly burdensome and not
 5 reasonably calculated to lead to the discovery of admissible evidence. Space Data also
 6 objects to this request to the extent it includes subparts that should be propounded, numbered,
 7 or counted as separate interrogatories in accordance with Federal Rules of Civil Procedure
 8 33. Space Data further objects to this interrogatory to the extent it seeks information within
 9 Defendants possession, custody and/or control, and/or information more easily available to
10 Defendants, as through public sources. Plaintiff objects to this request as premature as
11 intends to rely on expert assistance in performing damages computations and expert
12 discovery has not yet begun. Space Data also objects to this interrogatory to the extent it
13 seeks trade secret, confidential, or proprietary information of a third party, sensitive personal
14 or private information of a third party, or sensitive government information. Space Data
15 further objects to this interrogatory to the extent it seeks information, documents, and/or
16 things protected by the attorney-client privilege, the work-product doctrine, or any other
17 applicable privilege or immunity.
18          Subject to, and without waiver of, the foregoing General and Specific Objections,
19 Space Data responds further as follows:
20          The parties entered into The Mutual Non-Disclosure Confidentiality and
21 Nondisclosure Agreement (“NDA”) effective as of December 1, 2007, for the purpose of
22 engaging in “discussions and negotiations concerning a proposed acquisition of shares or
23 assets” of Space Data. This was the only permissible use of the Space Data information.
24          Because Google told Space Data it was interested in acquiring the company and
25 because the parties had executed the two-way NDA, Space Data provided Google with
26 unprecedented access to confidential, proprietary information and trade secrets. Space Data
27 felt Google’s interest in acquiring the company was sincere, since Google co-founders Larry
28

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 1 Page and Sergey Brin both attended Space Data’s first meeting at Google’s headquarters in
 2 September 2007 and a follow-on meeting in November 2007. Then, on November 28, 2007,
 3 Minnie Ingersoll emailed Space Data and copied Mike Pearson from Google’s corporate
 4 development team saying “I think he’s the right person to help us take this discussion into
 5 more formal deal terms.” See GOOG-SD-00144458. Once the NDA was signed, Space
 6 Data provided Google with its proprietary historical financial statements, financial
 7 projections, and modeling, which revealed information regarding all the relevant cost
 8 variables relevant to running a balloon-based communications network. Space Data’s
 9 financial details are not publicly known and its financial model was proprietarily developed
10 over years of operating as the only balloon-based communications company. Detail about
11 the actual cost drivers of a balloon-based communications network, developed from Space
12 Data’s actual operational experience, provided value and a competitive advantage to Space
13 Data. These details were only provided to Google for the purpose of evaluating a potential
14 acquisition.
15          Space Data also provided proprietary “vision” slides to Google, which detailed
16 different potential applications of Space Data’s technology. These slides were also
17 designated as confidential under the NDA. As described fully in the Third Amended
18 Complaint, on February 15, 2008, a team of Google engineers, corporate development
19 personnel, and Google’s co-founders, Larry Page and Sergey Brin, came to visit Space Data
20 to perform technical due diligence. Space Data had never before and has not since provided
21 the kind of access Google had during that visit.
22          The Google team launched Space Data balloons and then received tours of Space
23 Data’s labs, workshops, and Network Operations Center (“NOC”). In the labs and
24 workshops, Google was able to view and photograph deconstructed payloads and
25 components. Throughout the tour, Space Data’s team provided detail about Space Data’s
26 payload design, vent, ballast, and thermal management techniques that were on display.
27 During the tour of the NOC, Space Data allowed Google to take up-close, detailed
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 1 contravention to the purpose of the NDA), Space Data would not have to be competing with
 2 Loon while Google used Space Data’s own technology. Space Data would not have lost out
 3 on potential profits to Loon if Google had not usurped Space Data’s confidential information
 4 out right. See July 10, 2018 Amended Response to Interrogatory No. 6. The injury suffered
 5 by Space Data includes, without limitation, the loss of sales and profits it would have earned
 6 but for Defendants’ actions, and injury to Space Data’s reputation among potential and
 7 existing customers, business partners, investors, and in the industry in general.
 8          The calculation of Space Data’s damages for Google’s misappropriation of trade
 9 secrets may include, without limitation, loss of profits Space Data would have earned but for
10 Google’s misappropriation, disgorgement for unjust enrichment by the Defendants, payment
11 of reasonable royalty fees, as well as injunctive relief.
12          Defendants’ trade secrets misappropriation has been willful and malicious. “Willful”
13 means that Defendants acted with a purpose or willingness to commit the act or engage in the
14 conduct in question, and the conduct was not reasonable under the circumstances at the time
15 and was not undertaken in good faith. “Malicious” means that Defendants acted with an
16 intent to cause injury, or that Defendants conduct was despicable and was done with a willful
17 and knowing disregard for the rights of others. If willful and malicious trade secret
18 misappropriation exists, both CUTSA and DTSA allow punitive damages up to two times
19 any damages award. Cal. Civil Code § 3426.3 and 18 U.S.C. § 1836(b)(3)(C). If willful and
20 malicious misappropriation exists, CUTSA and DTSA also allow recovery of attorneys’ fees
21 and costs. See § 3426.4 and 18 U.S.C. § 1836(b)(3)(D). In addition to attorneys’ fees, Space
22 Data is also eligible to receive reasonable expert fees under CUTSA § 3426.4. Space Data
23 also seeks pre-judgment and post-judgment interest on damages caused to them by reason of
24 Defendants’ misappropriation at the maximum legal rates provided by statute or the law.
25          See also Responses to Interrogatories 6, 7, 8, 15, and 16.
26 Dated: July 13, 2018            Respectfully submitted,
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                                   CERTIFICATE OF SERVICE
 1
 2            I, Darrell R. Atkinson, am a citizen of the United States and am employed in the

 3 County of San Francisco, State of California. I am over the age of 18 years and am not a
 4 party to the within action. My business address is Hosie Rice LLP, 600 Montgomery Street,
 5
     34th Floor, San Francisco, California, 94111.
 6
            On July 13, 2018, I served the following:
 7
         PLAINTIFF SPACE DATA CORPORATION’S JULY 13, 2018 AMENDED
 8     RESPONSES TO DEFENDANT GOOGLE LLC’S S INTERROGATORIES NOS.
                            12, 15, 16, 17, 19, 20 & 23
 9
     by email at San Francisco, California, addressed to the following parties:
10
   Robert A. Van Nest
11 Christa M. Anderson
12 Matthew M. Werdegar
   Eugene M. Paige
13 Matthias A. Kamber
   Ryan K. Wong
14 Thomas E. Gorman
   Leah Pransky
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   Andrew S. Bruns
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24 LOON-KVN@kvn.com
25 Attorneys for Defendants
   Alphabet Inc. and Google LLC.
26
27
28

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            I certify under penalty of perjury under the laws of the State of California that the
 1
 2 foregoing is true and correct.
 3 DATED: July 13, 2018                                     /s/ Darrell R. Atkinson
                                                            Darrell R. Atkinson
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